Case: 1:03-cr-00486-JRA Doc #: 603 Filed: 10/20/09 1 of 4. PageID #: 2153




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,                    )   CASE NO. 1:03CR486
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )   Judge Peter C. Economus
                                              )
 YOHNELL WALKER,                              )
                                              )
        Defendant.                            )   ORDER



        On September 28, 2004, the Defendant, Yohnell Walker, was sentenced to fifty-one

 (51) months imprisonment, followed by four (4) years of supervised release, for conspiracy

 to possess with intent to distribute cocaine base, a Class A felony. His supervised release

 commenced on November 26, 2006.

        On or about August 20, 2009, the Defendant’s probation officer submitted a violation

 report alleging the following violations of the terms of supervised release:

        1. New Law Violations- On April 1, 2008, the offender was arrested
        by the Cleveland Police Department and charged in Case Number
        CR509984A, on three count Trafficking Offenses: two count Drug
        Possession; and one count Possessing Criminal Tools. The offender
        posted bond of $7,500.00.

        2. New Law Violations- On December 30, 2008, the offender was arrested
        by the Cleveland Police Department and charged in Case Number
        CR519619A, on one court Trafficking; one count Drug Possession; and one
        count Possessing Criminal Tools. The offender posted bond of $5,000.00.
Case: 1:03-cr-00486-JRA Doc #: 603 Filed: 10/20/09 2 of 4. PageID #: 2154




       3. New Law Violations- On January 27, 2009, the offender was arrested by
       the Cleveland Police Department and charged in Case Number CR520184B,
       on two counts Trafficking Offenses; one count Drug Possession; and one
       count Possessing Criminal Tools. The offender posted bond of $5,000.00.

       4. Association with a Known Felon

       On September 24, 2009, the probation officer issued a Supplemental Information

 Report indicating:

       On 08/05/2009, the offender pled guilty before the Honorable Steven J. Terry
       in Cuyahoga County Court of Common Pleas as follows:

       Violation #1) Case number CR-08-509984-A to Trafficking offenses 2925.03
       A(2) (Felony 4) with forfeiture specifications as charged in Count 5 of the
       Indictment;

       Violation #2) Case number CR-09-519619-A to Drug Possession 2925.11 A
       (Felony 3) with forfeiture specifications as charged in Count 2 of the
       Indictment.

       Violation #3) Case number CR-09-520184-B to Trafficking offenses 2925.03
       A(1) (Felony 5) with forfeiture specifications as amended in Count 1 of the
       Indictment;

       All remaining counts were Nolled. The offender was referred to the County
       Probation Department for a presentence investigation report and was advised
       of Post Release Control for 3 years. Sentencing is currently scheduled for
       09/29/2009 at 9:00 a.m. He is out on bond.

       The matter was referred to Magistrate Judge James S. Gallas to conduct the

 appropriate proceedings, except for sentencing, and to prepare a report and recommendation.

 The Defendant appeared before the Magistrate Judge for an initial appearance on the alleged

 violations on October 1, 2009, and was represented by counsel Michael Goldberg. At the

 hearing, the Defendant admitted to violations one through four. The Magistrate Judge has


                                             -2-
Case: 1:03-cr-00486-JRA Doc #: 603 Filed: 10/20/09 3 of 4. PageID #: 2155




 issued a report and recommendation, recommending that the Court find that the Defendant

 has violated the terms of his supervised release. (Dkt. # 598).

        On October 19, 2009, the probation officer filed a second Supplemental Information

 Report stating:

               On 10/02/2009, the offender was sentenced in Case numbers CR-08-509984;
        CR-09-519619-A and CR09-519619-A to 2 years custody to run concurrent with any
        imposed federal sentence, forfeit two cell phones and $658.00 in U.S. Currency, 3
        years community control and court costs.

        Association with a Known Felon: On April 10, 2008, the offender was arrested in
        the company of Jonathon Frank. Mr. Frank has one prior criminal conviction. On
        June 6, 2006, Mr. Frank was convicted in Case Number 96CR333912 of one count,
        Trafficking in Drugs. He was sentenced to 1 year custody.


        The Court has reviewed the Magistrate Judge’s report and recommendation and finds

 that it is well-supported. The Defendant has admitted violations one through four of the

 probation officer’s violation report. As a result, the Court finds that the Defendant has

 violated the terms of his supervised release. Because violation number two involves drug

 possession, pursuant to 18 U.S.C. § 3583(g)(1), the Court must revoke the term of supervised

 release and require the defendant to serve a term of imprisonment, subject to the exception

 listed in 18 U.S.C. § 3583(d).

        The Court has considered the statutory maximum sentence of five years pursuant to

 18 U.S.C. § 3583(e)(3). The Court has also considered the advisory policy statements set

 forth in Chapter Seven of the United States Sentencing Guidelines prior to imposing

 sentence. The guideline range is 37 to 46 months pursuant to U.S.S.G. § 7B1.4(a).


                                             -3-
Case: 1:03-cr-00486-JRA Doc #: 603 Filed: 10/20/09 4 of 4. PageID #: 2156




 Furthermore, the Court has considered the factors for sentencing listed in 18 U.S.C. §

 3553(a) and 3583(d).

        The Court hereby ADOPTS the Magistrate’s Report and Recommendation. (Dkt. #

 598). Based on this Court’s review of all relevant factors, the Court hereby orders that the

 Defendant’s supervised release is REVOKED, and the Defendant is sentenced to forty-six

 (46) months imprisonment. Furthermore, the Defendant’s remaining term of supervised

 release is hereby terminated.

        IT IS SO ORDERED.



 Issued: October 20, 2009                  s/ Peter C. Economus
                                           PETER C. ECONOMUS
                                           UNITED STATES DISTRICT JUDGE




                                             -4-
